     Case 2:14-cr-00168-TOR               ECF No. 1566       filed 03/10/16     PageID.8056 Page 1 of 2
PROB 12C                                                                               Report Date: March 9, 2016
(7/93)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                        for the
                                                                                               3/10/16
                                          Eastern District of Washington
                                                                                              SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: John H. Huscusson                         Case Number: 0980 2:14CR00168-TOR-17
 Address of Offender:                                Elk, Washington 99009
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: October 7, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1344, 1349
 Original Sentence:       Prison 1 day;                      Type of Supervision: Supervised Release
                          TSR - 48 day
 Asst. U.S. Attorney:     George J. C. Jacobs, III           Date Supervision Commenced: October 7, 2015
 Defense Attorney:        Colin G. Prince                    Date Supervision Expires: October 6, 2019


                                           PETITIONING THE COURT

              To issue a WARRANT and incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 01/05/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           4            Special Condition # 17: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: John Huscusson violated conditions of his supervised release by
                        failing to participate in substance abuse counseling since supervision commenced on
                        October 7, 2015, contrary to special condition number 17.

                        Mr. Huscusson failed to attend his scheduled chemical dependency assessment on January
                        26, 2016. Contact with the vendor site on March 9, 2016, revealed that Mr. Huscusson had
                        not made any attempts to reschedule his missed assessment.

                        Mr. Huscusson has failed to participate in any substance abuse treatment since he
                        commenced supervised release on October 7, 2015.
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          5       Special Condition # 15: You shall abstain from the use of illegal controlled substances, and
                  shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                  supervising officer, but no more than six tests per month, in order to confirm continued
                  abstinence from these substances.

                  Supporting Evidence: Mr. Huscusson violated special condition number 15 by consuming
                  a controlled substance on or about February 11, 2016, and failing to report as directed for
                  testing on February 25, 2016.

                  On February 11, 2016, Mr. Huscusson reported as directed to the vendor site for a random
                  urine test. The sample was tested and returned a presumptive positive reading for marijuana.
                  At that time, the offender denied use and the sample was sent to the laboratory for
                  confirmation. On February 16, 2016, the sample was returned from the laboratory. The
                  sample tested positive for marijuana.

                  Mr. Huscusson failed to report for urine testing as directed on February 25, 2016.




                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     03/09/2016
                                                                        s/Patrick J. Dennis
                                                                        Patrick J. Dennis
                                                                        U.S. Probation Officer



 THE COURT ORDERS
 [ ] The Issuance of a Warrant
 [X ] The Issuance of a Summons
 [ ] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
 [ ] Defendant to appear before the Judge assigned to the
      case.
 [ ] Defendant to appear before the Magistrate Judge.
 [ ] Other

                                                                        Signature of Judicial Officer
                                                                        March 10, 2016

                                                                        Date
